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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA



UNITED NATIONAL
INSURANCE COMPANY, a
Pennsylvania Insurance Company,

                Plaintiff,

v.                                      Memorandum of Law & Order
                                        Civil File No. 08‐0678 (MJD/JJK)
GUNDERSON, INC., an Oregon
Corporation; DAVIS‐FROST, INC.,
a Minnesota Corporation,

                Defendants.



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Counsel for Plaintiff.

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PA, Counsel for Defendant Davis‐Frost, Inc.



     I.      INTRODUCTION

          This matter comes before the Court on Gunderson, Inc.’s Motion to

Dismiss Davis‐Frost, Inc. [Docket No. 109] and United National Insurance

Company’s (“United National”) second Motion for Summary Judgment [Docket


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No. 124]. The Court heard oral argument on Friday, May 7, 2010, and now

grants Gunderson’s Motion to Dismiss and denies United National’s second

Motion for Summary Judgment.

   II.      BACKGROUND

         This dispute arises out of damage to railcars manufactured and sold by

Gunderson between August 2000 and February 2001. Gunderson painted these

railcars with Davis‐Frost paint, and sold them to its customers. After the railcars

were placed into service around the country, the paint started to blister, bubble,

and crack. Gunderson settled the claims of its customers for $1.3 million and

sued Davis‐Frost for damages in the United States District Court for the District

of Oregon (the “Underlying Action”). The Underlying Action proceeded to trial

where Gunderson obtained a $1.3 million verdict and obtained a $1,321,274.09

Judgment against Davis‐Frost (the “Judgment”).

         During the relevant time periods, Davis‐Frost was insured by three

different liability insurers. For the two annual policy periods between July 29,

2000 and July 29, 2002, United National insured Davis‐Frost under commercial

general and commercial umbrella policies. Travelers Indemnity Company

(“Travelers”) insured Davis‐Frost between July 29, 2002, and July 29, 2003, and




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American International Specialty Lines Insurance Company (“AISLIC”) insured

Davis‐Frost between July 29, 2003 and July 29, 2005.

      Shortly after entry of the Judgment, United National sued Davis‐Frost,

Travelers Insurance and AISLIC before this Court, seeking a declaration that

United National’s policies do not cover any part of the Judgment. United

National also sued Gunderson, alleging that a controversy existed between the

parties. On August 13, 2008, Travelers and AIG were dismissed from the action

[Docket No. 33]. United National then filed a Motion for Summary Judgment

[Docket No. 66], seeking judgment as a matter of law based on several coverage

defenses. The Court denied the motion after concluding that genuine issues of

material fact precluded summary judgment [Docket No. 99].

      After the parties were unable to reach an agreement at a September 4, 2009

global Settlement Conference [Docket No. 100], Gunderson and Davis‐Frost

began to discuss a potential settlement of their dispute. Davis‐Frost advised

Gunderson that it would likely be forced to seek bankruptcy protection if it had

to pay the full amount of the Judgment. On December 3, 2009, Davis‐Frost

notified United National that it intended to enter into the Settlement Agreement

with Gunderson if the Judgment in the Underlying Action was affirmed on

appeal. United National did not respond. On December 10, 2009, despite no

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appellate decision, Davis‐Frost entered into the Settlement Agreement with

Gunderson.

      Paragraph 14 of the Settlement Agreement stated that the Agreement was

intended to have the same effect and was to be interpreted in accordance with

Miller v. Shugart, 316 N.W.2d 729 (Minn. 1982) and its progeny. (Id. ¶ 14.) As a

result, the agreement maintained that beyond $175,000 in settlement payments,

Gunderson would only seek to satisfy the outstanding portion of the Judgment

from any insurance proceeds due to Davis‐Frost from United National. The

Settlement Agreement, however, also contained the following provision:

      15. Release of Gunderson’s Claims Against Davis‐Frost. For One
      ($1.00) and 00/100 Dollar and other good and valuable
      consideration, Gunderson hereby releases and forever discharges
      Davis‐Frost of and from any and all past, present, and future claims,
      demands, obligations, damages, actions, causes of action or suits at
      law or in equity or any other claims of whatsoever kind or nature
      arising out of or relating in any way to Gunderson’s claims in the
      Underlying Action, including, but not limited to, the Judgment.
      This release covers known and unknown claims for unknown as
      well as known injuries and/or damages, claims for anticipated and
      unanticipated injuries and/or damages, claims for expected and
      unexpected consequences of injuries and/or damages, including, but
      not limited to, claims arising out of contract, tort, strict liability,
      statutory violation, nuisance, indemnity, subrogation, contribution
      or any other damages arising out of or in any way relating to claims
      that were or could have been asserted by Gunderson in the
      Underlying Action.




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(Freeman Aff. Ex. A ¶ 15.) The meaning of this provision provides the basis for

United National’s second Motion for Summary Judgment.

   III.     DISCUSSION

           A. United National’s Second Motion for Summary Judgment

      United National contends that paragraph fifteen of the Settlement

Agreement discharges the Judgment against Davis‐Frost in the Underlying

Action. As a result, United National asserts that it no longer has a duty to

indemnify Davis‐Frost and that it has no further obligation to either Davis‐Frost

or Gunderson concerning the Judgment.

                1. Standard

      Summary judgment is appropriate if, viewing all facts in the light most

favorable to the non‐moving party, there is no genuine issue as to any material

fact, and the moving party is entitled to judgment as a matter of law. Fed. R. Civ.

P. 56(c); Celotex Corp. v. Catrett, 477 U.S. 317, 322‐23 (1986). The party seeking

summary judgment bears the burden of showing that there is no disputed issue

of material fact. Celotex, 477 U.S. at 323. Summary judgment is only appropriate

when “there is no dispute of fact and where there exists only one conclusion.”

Crawford v. Runyon, 37 F.3d 1338, 1341 (8th Cir. 1994) (citation omitted).




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      “Only disputes over facts that might affect the outcome of the suit under

the governing law will properly preclude the entry of summary judgment.”

Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). Factual disputes that

are irrelevant or unnecessary will not be counted. (Id.) The court must view the

evidence, and the inferences that may be reasonably drawn from it, in the light

most favorable to the non‐moving party. Graves v. Ark. Dep’t. of Fin. & Admin.,

229 F.3d 721, 723 (8th Cir. 2000). “[I]n ruling on a motion for summary

judgment, the nonmoving party’s evidence ‘is to be believed, and all justifiable

inferences are to be drawn in [that party’s] favor.’” Hunt v. Cromartie, 526 U.S.

541, 552 (1999) (quoting Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 255 (1986).

              2. Miller‐Shugart Settlement Agreements.

      Under Minnesota’s Miller‐Shugart doctrine, “[w]hen an insurer has denied

that its policy affords any coverage for a claim brought against its insured, the

insured may agree to have judgment entered against it on condition the

judgment is collectible only from available insurance.” Indep. Sch. Dist. No. 197

v. Accident & Cas. Ins. of Winterthur, 525 N.W.2d 600, 606‐07 (Minn. Ct. App.

1995) (citing Miller v. Shugart, 316 N.W.2d at 734). “Such a judgment is binding

on the insurer if: (1) the judgment was obtained without fraud or collusion; and

(2) the settlement on which the judgment is based was reasonable and prudent.”

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Id. The Minnesota Supreme Court has approved the Miller‐Shugart settlement

process, “whereby an insured stipulates to a money judgment in favor of a

plaintiff, the plaintiff releases the insured from personal liability, and the plaintiff

agrees to seek coverage from the insurer.” Burbach v. Armstrong Rigging &

Erecting, Inc., 560 N.W.2d 107, 109 (Minn. Ct. App. 1997). As the Minnesota

Supreme Court observed in Miller v. Shugart:

      [The insureds] . . . have a right to protect themselves against
      plaintiff’s claim. . . . If, as here, the insureds are offered a settlement
      that effectively relieves them of any personal liability, at a time when
      their insurance coverage is in doubt, surely it cannot be said that it is
      not in their best interest to accept the offer. Nor, do we think, can the
      insurer who is disputing coverage compel the insured to forego a
      settlement which is in their best interests.

316 N.W.2d at 733‐34.

      United National claims that a Miller‐Shugart agreement must contain a

covenant by a plaintiff not to execute on the judgment against the insured.

Moreover, it argues that a Miller‐Shugart agreement cannot substitute a personal

release from liability in place of a covenant not to execute. United National has

not, however, provided any case law stating that an element of a Miller‐Shugart

agreement is a covenant not to execute, rather than a personal release.

      The Court disagrees with United National’s position and concludes that a

release of the insured’s personal liability is consistent with Minnesota Miller‐

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Shugart law. In describing what a Miller‐Shugart settlement agreement is,

Minnesota appellate courts have indeed recognized that the policyholder agrees

to the entry of Judgment “in return for the plaintiffs releasing the insured from

any personal liability.” Peterson v. Wilson Tp., 672 N.W.2d 557, 558 n.1 (Minn.

2003) (emphasis added); see also Buysse v. Baumann‐Furrie & Co., 481 N.W.2d

27, 29 (Minn. 1992) (stating that under the Miller‐Shugart settlement process, the

plaintiff “releas[es] the insured from any personal liability”); North Star Mut. Ins.

Co. v. Midwest Family Mut. Ins. Co., 634 N.W.2d 216, 221 (Minn. Ct. App. 2001)

(recognizing that in a Miller‐Shugart agreement, the underlying plaintiffs

“releas[e] the insured from any personal liability”); Zurich Reinsurance Ltd. v.

Canadian Pac. Ltd., 613 N.W.2d 760, 764 (Minn. Ct. App. 2000) (same); Vang v.

Vang, 490 N.W.2d 647, 651 (Minn. Ct. App. 1992) (same). Likewise, the Eighth

Circuit Court of Appeals and the District of Minnesota have recognized that a

Miller‐Shugart agreement involves the release of the policy holder from personal

liability. Corn Plus Co‐op v. Cont’l Cas. Co., 516 F.3d 674, 677 n.2 (8th Cir. 2008)

(“In a Miller‐Shugart settlement . . . [t]he claimant releases the insured from

personal liability and the claimant’s recovery is limited to the amount obtained

from the insurers.”); see Russell v. Burlington Ins. Co., No. 09‐431 (RHK/JJK),

2009 WL 2901205, at *2 n.3 (D. Minn. Sept. 3, 2009) (stating that the policyholder’s

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“release[e] . . . from any personal liability” is a component of a Miller‐Shugart

agreement); Damsgard v. Liberty Mut. Ins. Co., No. 08‐1416 (RHK/AJB), 2009

WL 2424442, at *1 n.3 (D. Minn., Aug. 5, 2009) (same). Finally, the Minnesota

Supreme Court has even referred to a Miller‐Shugart settlement as a “Miller‐

Shugart release.” See e.g., Bob Useldinger & Sons, Inc. v. Hangsleben, 505

N.W.2d 323, 331 (Minn. 1993); Alton M. Johnson Co. v. M.A.I. Co., 463 N.W.2d

277, 280 (Minn. 1990).

      With this framework in place, the Court now considers United National’s

argument that Gunderson and Davis‐Frost failed to properly enter into a Miller‐

Shugart settlement agreement.

              3. Whether Gunderson & Davis‐Frost entered into a Miller
                 Shugart Settlement Agreement.

      United National insists that the Settlement Agreement is not a bona fide

Miller‐Shugart agreement because paragraph fifteen released the Judgment in

the Underlying Action. As a result, United National claims that its duty to

indemnify Davis‐Frost is excused because there is nothing left to indemnify.

Moreover, United National contends that the Settlement Agreement

extinguished any assignment to Gunderson to pursue Davis‐Frost’s rights of

indemnification against United National.



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      The Court disagrees and concludes that the clear language of paragraph

fifteen states that Gunderson released Davis‐Frost from personal liability and did

not discharge the Judgment in the Underlying Action. Moreover, several

different paragraphs of the Settlement Agreement indicate that the Judgment

remains in full force and effect, to be collected from any insurance proceeds

owed by United National. For instance, the Recitals track the components of a

Miller‐Shugart agreement and demonstrate the parties’ intent in entering into the

Settlement Agreement. In relevant part they state:

      WHEREAS, Gunderson is willing to accept from Davis‐Frost the sum
      of One Hundred and Seventy Five Thousand and 00/100
      ($175,000.00) and Gunderson is willing to seek payment of the
      remaining balance of the Judgment owed to Gunderson solely from
      Davis‐Frost’s liability insurer, United National, and not from Davis‐
      Frost personally; and

      WHEREAS, after careful review, Gunderson has determined that
      the remaining portion of the Judgment that it intends to seek solely
      from United National is attributable to property damage to the
      railcars resulting from the failure of Davis‐Frost’s paint.

(Freeman Aff. Ex. A.) Similarly, paragraph six of the Settlement Agreement

states that “Gunderson shall proceed in its own name in the Minnesota action,

and as assignee of the rights of Davis‐Frost . . . to seek satisfaction of the

unsatisfied portion of the Judgment.” (Id. ¶ 6.) Likewise, the Agreement states

that Davis‐Frost agrees to reasonably cooperate “to allow Gunderson to

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effectively pursue Davis‐Frost’s insurance rights in the Minnesota action,” and

that Davis‐Frost makes no warranty that Gunderson will successfully recover

from United National. (Id. ¶¶ 7, 13.)

      Paragraph eight, which governs Gunderson’s post‐Judgment remedies

states as follows:

      It is the express intention of the parties hereto . . . that Gunderson
      shall have no right to, and shall not at any time, execute on, and shall
      make no efforts to execute on the Judgment from the assets of Davis‐
      Frost, except that the Judgment may be enforced against United
      National to the extent of available insurance coverage for the claims
      asserted by Gunderson against Davis‐Frost in the Underlying Action.
      . . . If called upon by Davis‐Frost, Gunderson will cause to be
      delivered a release or quit claim deed or other appropriate
      documents releasing any claim to or lien upon the property or assets
      of Davis Frost, as Judgment debtors affected by the Judgment, with
      the sole exception of liability which may be found to attach to the
      Untied National Policies. Subject to the terms and conditions of this
      Settlement Agreement, Gunderson expressly preserves its claims
      against United National.

(Id. ¶ 8.) Furthermore, paragraph ten states that Gunderson’s “sole and exclusive

right and remedy to collect the Judgment entered in the Underlying Action shall

be governed by this Settlement Agreement” and further that Gunderson’s

“collection on the Judgment, in addition to the [$175,000 in settlement payments],

shall come only through any recovery made by Gunderson, as assignee, against

United National.” (Id. ¶ 10.)



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      Finally, paragraph twelve, entitled “Satisfaction of the Judgment,”

provides:

      Gunderson shall promptly file with the court in the Underlying
      Action a full and complete satisfaction of the Judgment after
      resolution by judgment, settlement or otherwise of the Minnesota
      Action against United National. The satisfaction so filed shall be a
      full and complete satisfaction of judgment regardless of whether
      any recovery is made by Gunderson on the claim or action against
      United National . . . Pending resolution of the Minnesota Action as
      described in this paragraph 12, the parties agree that the Judgment
      shall remain in full force and effect, subject to any partial payments
      previously made by Travelers, AIG or Davis‐Frost.

(Id. ¶ 12.) Consistent with this paragraph, the Agreement also states that Davis‐

Frost shall pay Gunderson $175,000 “toward satisfaction of the outstanding

Judgment.” (Id. ¶ 2.)

      The Court concludes that United National’s position is irreconcilable with

these contractual provisions. A settlement agreement is a contract like any other.

In re Welfare of M.R.H., 716 N.W.2d 349, 352 (Minn. Ct. App. 2006); Beach v.

Anderson, 417 N.W.2d 709, 711‐12 (Minn. Ct. App. 1988). “The cardinal purpose

of construing a contract is to give effect to the intention of the parties as

expressed in the language they used in drafting the whole contract.” Art Goebel,

Inc. v. N. Suburban Agencies, Inc., 567 N.W.2d 511, 515 (Minn. 1997). It is an

accepted rule in Minnesota that courts “give effect to all of a contract’s terms.”



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Metro. Airports Comm’n v. Noble, 763 N.W.2d 639, 645 (Minn. 2009). A

reviewing court must “construe a contract as a whole so as to harmonize all

provisions, if possible, and to avoid a construction that would render one or

more provisions meaningless.” Stiglich Constr., Inc. v. Larson, 621 N.W.2d 801,

803 (Minn. Ct. App. 2001) (citation omitted). The process of interpreting the

contracting parties’ intent is not determined “by a process of dissection in which

words or phrases are isolated from their context, but rather from a process of

synthesis in which words and phrases are given a meaning in accordance with

the obvious purpose of the . . . contract as a whole.” Davis by Davis v. Outboard

Marine Corp., 415 N.W.2d 719, 723 (Minn. Ct. App. 1987) (citation omitted).

Finally, Minnesota courts have a longstanding policy of construing contracts in a

manner that avoids unjust results. RAM Mut. Ins. Co. v. Meyer, 768 N.W.2d 399,

406 (Minn. Ct. App. 2009).

      Pursuant to this guidance, the most appropriate reading of the Settlement

Agreement is that paragraph fifteen merely released Davis‐Frost from personal

liability. Adopting United National’s construction would render the majority of

the provisions in this contract unnecessary and obsolete. The Court therefore

determines that the Settlement Agreement, read as a whole, is consistent with




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Miller‐Shugart. For this reason, the Court denies United National’s second

Motion for Summary Judgment.

           B. Motion to Dismiss Davis‐Frost and Substitute Gunderson

      The parties have stipulated to the dismissal of Defendant Davis‐Frost

without prejudice. The Court understands that Gunderson and Davis‐Frost have

entered into an agreement whereby Gunderson assumes the position and

liabilities of Davis‐Frost. The Court also recognizes that United National wishes

to protect its claims against Davis‐Frost for insurance deductibles and for partial

reimbursement of attorney’s fees from the Underlying Action. The Court

therefore accepts the parties’ stipulation and dismisses Davis‐Frost without

prejudice. The Court reserves judgment on all evidentiary issues until after it

receives further briefing from the parties during the pretrial phase of this case.

   IV.     CONCLUSION & ORDER

      The Court concludes that Gunderson and Davis‐Frost properly entered

into a Miller‐Shugart settlement agreement. Accordingly, based on the

foregoing, all the files, records and proceedings herein, IT IS HEREBY

ORDERED that

                1. Plaintiff’s Motion for Summary Judgment [Docket No. 124] is
                   DENIED.



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             2. Defendant Gunderson’s Motion to Dismiss [Docket No. 109] is
                GRANTED and Defendant Davis‐Frost is DISMISSED
                WITHOUT PREJUDICE from this action.




Date: May 12, 2010                        s/ Michael J. Davis
                                          Chief Judge Michael J. Davis
                                          United States District Court




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